Case 2:09-cv-01526-JAG-MCA Document 5 Filed 04/06/09 Page 1 of 2 PageID: 153


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Attorneys for Plaintif f
Esquire Deposition Services, LLC ,
A Delaware limited liability compan y


                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSE Y



ESQUIRE DEPOSITION SERVICES, LLC, j
a Delaware limited liability company,     ; Civil Action No. 09-cv-1526
                                          i
                               Plaintiff,   Honorable Joseph A . Greenaway, Jr ., U .S.D .J.
                                          I
V.                                        ' CERTIFICATION PURSUANT TO CIVIL
                                            RULE 7 .1
MICHAEL BOUTOT and THE MCS j
GROUP, INC ., a Pennsylvania Corporation,
                                               i



                         Defendants.



       Pursuant to Rule 7 .1 of the Federal Rules of Civil Procedure, plaintiff Esquire Depositio n

Services, LLC, states that it is a subsidiary of The Hobart West Group, Inc .



                                                     K&L GATES LLP
                                                     Attorneys for Plaintiff
                                                     Esquire Deposition Services, LLC




Dated : April 6, 2009
Case 2:09-cv-01526-JAG-MCA Document 5 Filed 04/06/09 Page 2 of 2 PageID: 154


                                CERTIFICATION OF SERVIC E


       I hereby certify that on this 6th day of April 2009, 1 caused this Certification Pursuant to

Civil Rule 7 .1 to be filed with the Clerk of the United States District Court, District of New

Jersey via the Court's electronic filing system and by electronic mail served a copy upon all

counsel of record by operation of the Court's electronic filing system . Parties may access this

filing through the Court's CM/ECF system . Concomitantly, I served a copy of this Certification

upon Stephani C . Schwartz, Esq. of Schwartz, Simon, Edelstein, Celso & Kessler, LLC via

email : sschwartz@sseck .com.

       I am aware that if any statement herein is willfully false, I am subject to punishment .




                                                     4~Laura A. Stutz




                                                 2
